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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                            :      Chapter 13

Danette Moody
      (DEBTOR)                                    :      Bankruptcy No. 18-10712AMC

    NOTICE OF MOTION TO CONTINUE AUTOMATIC STAY BEYOND 30 DAYS PURSUANT
           TO 11 U.S.C. §362 AND RESPONSE DEADLINE AND HEARING DATE

      Debtor's Counsel has filed A Motion to Continue Automatic Stay Beyond 30 days
pursuant to 11 U.S.C. §362 in this bankruptcy case.

       Your rights may be affected. You should read the papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult an attorney.)

1.    If you do not want the court to grant the relief sought in the motion or if you want
the court to consider your views on the motion, then on or before February 16, 2018 you
or your lawyer must do all of the following:

         a. file an Answer explaining your position at The United States Bankruptcy Court,
         Robert N. C. Nix Bldg., 900 Market Street, Philadelphia, PA 19106,

          b. Mail a copy to: Michael A. Cataldo, Esquire, Cibik & Cataldo Law Offices,
          1500 Walnut Street, Ste. 900, Philadelphia, PA 19102, Telephone No. (215)
          735-1060, Fax No. (215) 735-6769 and serve all other interested parties.

2.    If you or your attorney do not take the steps described in paragraph 1(a) and
1(b) above and attend the hearing, the court may enter an order granting the relief
requested in the Motion.

3.    A hearing is scheduled to be held before the Honorable Ashely M. Chan on
February 27, 2018 at 11:00 a.m. in Courtroom 5, United States Bankruptcy Court, Robert
N.C. Nix Building, 900 Market Street, 2nd Floor, Philadelphia, PA 19107.

4.     If a copy of the motion is not enclosed, a copy of the motion will be provided to
you if you request a copy from the attorney named in paragraph 1(b).

5.   You may contact the Bankruptcy Clerk's office at 215-408-2800 to find out
whether the hearing has been cancelled because no one filed an answer.

Date:       February 2, 2018
